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FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA |
ORLANDO DIVISION 2018 AUG -6 PH 3:37
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TINA PERRY, . oe ANDO, FLORIDA
Plaintiff,
v. Case No.\f - 1B-N: 126) -DRL-3T- DQ
D.A.S.L, INC., a/k/a DIVERSIFIED
ADJUSTMENT SERVICE,
INCORPORATED,
Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff Tina Perry sues Defendant D.A.S.L., Inc., a/k/a Diversified Adjustment Service,

Incorporated and alleges as follows:
Introduction

1, This is an action alleging violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227 et seq. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 er
seq. (“FDCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seg.
(“FCCPA”).

2. The TCPA was enacted to prevent companies like Defendant from invading
American citizens’ privacy and to prevent abusive “robocalls.”

3. The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
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wall.’ 137 Cong. Rec. 30,821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F.3d 1242, 1256 (11th Cir. 2014).

5. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one consumer complaint to the FCC. There are thousands of
complaints to the FCC every month on both telemarketing and robocalls. The FCC received
more than 215,000 TCPA complaints in 2014.” Fact Sheet: Wheeler Proposal to Protect and
Empower Consumers Against Unwanted Robocalls, Texts to Wireless Phones, Federal
Communications Commission, (May 27, 2015).

6. As the Seventh Circuit Court of Appeals wrote: “No one can deny the legitimacy
of the state’s goal: Preventing the phone (at home or in one’s pocket) from frequently ringing
with unwanted calls. Every call uses some of the phone owner’s time and mental energy, both of
which are precious.” Patriotic Veterans v. Zoeller, 845 F.3d 303, 305-06 (7th Cir. 2017).

Jurisdiction, Venue and Parties

7. This Court has original jurisdiction over Plaintiffs claims arising under the TCPA
and FDCPA pursuant to 28 U.S.C. § 1331.

8. This Court has supplemental jurisdiction over Plaintiffs state law claim pursuant
to 28 U.S.C. § 1367, as the state law claim arises out of a common nucleus of operative fact, and
forms part of the same case or controversy.

9. Personal jurisdiction exists over Defendant as it has the necessary minimum
contacts with the State of Florida, this suit arises out of Defendant’s specific conduct with

Plaintiff in Florida, and Plaintiff was injured in Florida.
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10. | Venue is appropriate in the United States District Court for the Middle District of
Florida, Orlando Division, pursuant to 28 U.S.C. § 1391, as the events giving rise to Plaintiff's
claims occurred in Volusia County, Florida.

11. _—‘ Plaintiff is a natural person, and resident of the State of Florida, residing in
Volusia County, Florida.

12. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

13. _— Plaintiff is an “alleged debtor.”

14. ‘Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d
1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

15. Defendant D.A.S.L, Inc. a/k/a Diversified Adjustment Service, Incorporated
(“DASI”) is a foreign corporation organized under the laws of Minnesota, with its principal place
of business located at 600 Coon Rapids Boulevard, Coon Rapids, Minnesota 55433. DASI does
business in Florida through its registered agent C T Corporation System, located at 1200 South
Pine Island Road, Plantation, Florida 33324.

16. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute § 559.55(6).

17. The debt that is referenced in this Complaint is a “consumer debt” as defined by
15 U.S.C. § 1692a(5).

18. Defendant is a “creditor” as defined in Florida Statute § 559.55(5).

19, Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

General Allegations
20. Defendant called Plaintiff on Plaintiff's cellular telephone more than 200 times in

an attempt to collect a debt.
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21. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (386) ***-8780, and was the called party and recipient of Defendant’s calls.

22. Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls
were being initiated from, but not limited to, the following telephone numbers: (321) 413-8931;
(321) 413-9293; (321) 413-9448; (321) 465-7716; (321) 465-9884; and (321) 666-7590.

23. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

24. | Upon information and belief, some or all of the calls Defendant made to
Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C. § 227(a)(1) (hereinafter
“autodialer calls”). Plaintiff hears a pause before she is connected to a live agent.

25. On multiple occasions since Defendant’s campaign of phone calls began, Plaintiff
instructed Defendant’s agent(s) to stop calling her cellular telephone.

26. In or around February 2018, Plaintiff answered a call from Defendant to the
aforementioned cellular telephone number. Plaintiff spoke to Defendant’s agent/representative,
told the agent she knew that she owed the money, and demanded they cease calling her cellular
phone. Defendant’s agent told Plaintiff that the calls would not stop until she paid the debt in
full.

27, Defendant continued to call Plaintiff's cellular phone two to three times per day

on average.
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28. Each subsequent call Defendant made to Plaintiff's aforementioned cellular
telephone number was knowing and willful and made without Plaintiff's “express consent.”

29. Despite Plaintiff clearly and unequivocally revoking any consent Defendant may
have believed they had to call Plaintiff on her cellular telephone, Defendant continued to place
automated calls to Plaintiff.

30. In March, April and May 2018, Plaintiff repeatedly asked Defendant to stop
calling her cell phone, but the calls did not stop.

31. Plaintiff's conversations with Defendant’s agents/representatives over the
telephone, wherein she demanded cessation of calls, were in vain as Defendant continued to
bombard her with automated calls unabated.

32. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling multiple times during one day, and on back to back days, with such frequency as can be
reasonably expected to harass.

33. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to call individuals just as it did to call Plaintiff's cellular
telephone in this case.

34. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to call Plaintiff’s cellular telephone in this case,
with no way for the consumer, Plaintiff, or Defendant, to remove the number.

35.  Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

36. | Defendant has other federal lawsuits against it alleging violations similar to those

stated in this Complaint.
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37. Defendant has numerous complaints against it from consumers across the country
asserting that its automatic telephone dialing system continues to call despite being requested to
stop.

38. | Defendant has had numerous complaints against it from consumers across the
country asking to not be called; however, Defendant continues to call the consumers.

39.  Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

40. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

41. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

42. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

43. From each and every call Defendant placed to Plaintiff's cellular telephone
without express consent, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon her right of seclusion.

44. From each and every call Defendant placed to Plaintiff's cellular telephone
without express consent, Plaintiff suffered the injury of occupation of her cellular telephone line
and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls.

45. From each and every call Defendant placed to Plaintiff's cellular telephone
without express consent, Plaintiff suffered the injury of unnecessary expenditure of her time. For
calls she answered, the time she spent on the call was unnecessary as she repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone and
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deal with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to
inform the user of important missed communications.

46. Each and every call Defendant placed to Plaintiff’s cellular telephone without
express consent was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that
were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff's cellular telephone, which are designed to inform the user of
important missed communications.

47. Each and every call Defendant placed to Plaintiff's cellular telephone without
express consent resulted in the injury of unnecessary expenditure of Plaintiff's cellular
telephone’s battery power.

48. Each and every call Defendant placed to Plaintiff's cellular telephone without
express consent where a voice message was left, occupied space in Plaintiff's telephone or
network.

49. Each and every call Defendant placed to Plaintiff's cellular telephone without
express consent resulted in the injury of a trespass to Plaintiff's chattel, namely her cellular
telephone and her cellular telephone services.

50. As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress and anxiety.
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COUNT I
(Violation of the TCPA)

51. Plaintiff restates and incorporates herein her allegations in paragraphs | through
50 as if fully set forth herein.

52. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the autodialer calls made to Plaintiffs cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

53. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff's prior express consent in violation of federal law, including 47 U.S.C. 3
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the Court may
deem just and proper.

COUNT II
(Violation of the FCCPA)

54. Plaintiff restates and incorporates herein her allegations in paragraphs 1 through
50 as if fully set forth herein.

55. At all times relevant to this action Defendant was subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

56. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the debtor or her family.
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57. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

58.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the Court may deem just and proper.

COUNT II
(Violation of the FDCPA)

59. Plaintiff restates and incorporates herein his allegations in paragraphs | through
50 as if fully set forth herein.

60. At all times relevant to this action Defendant was subject to and required to abide
by 15 U.S.C. § 1692 et seg.

61. Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the
natural consequence of which is to harass, oppress, or abuse any person in connection with the
collection of a debt.

62. Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or
engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number.

63. Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable
means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
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judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

Respectfully submitted,

Riese

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